Case 1:19-cv-21702-RNS Document 23 Entered on FLSD Docket 09/16/2019 Page 1 of 12



                                      UNITED STATES DISTRICT COURT                  FILED B'l         PG          D.C.

                                                  FOR THE                                 SEP 16 2019
                                                                                            ANGELA E. NOBLE
                                     SOUTHERN DISTRICT OF FLORIDA                          CLERK U.S. DIST. CT.
                                                                                           S. D. OF FLA.· MIAMI

     Spectrum Image, Inc

             vs.                                                           Case no: 19-cv-21702-RNS

     Nicholas Makozy

                                     MOTION FOR RECONSIDERATION

     AND NOW comes Nicholas Makozy, Pro- se to file this Motion:

     1. Defendant just found out this court rule against him because he did not respond to
     paperwork by Plaintiff. Plaintiff claims they sent paperwork certified mail and I was to respond
     by Sept S. Defendant never received any paperwork. Plaintiff never presented to this court any
     evidence that it was served on Defendant.

     2. New facts for this court :

     a. Plaintiff grabbed and used Defendants name from the internet and is trying to portray to the
     court that Defendant is the correct Defendant. This is absolutely false. Defendant is a 23 year
     old kid who has never lived or worked in Florida and has nothing to do with the state.
     Defendant has a perfectly clean record who has always lived worked and went to school in Pa,
     not Florida.

     b. Spectrum Aesthetics Center for Cosmetic Surgery was dissolved by the state of Florida in
     2011. See exhibit 2

     c. The state of Florida issued that name to a Nicholas Makozy in Florida in 2018. See Exhibit 3. It
     looks like the state issued and allowed that Nicholas Makozy to have that business Name.

     d. The Federal Trademark Commission issued and allowed that Nicholas Makozy the right to
     use and trademark the name Spectrum Aesthetic.

     e. Again, this Defendant has a clean upstanding record unlike the owners of Spectrum
     Aesthetics Center. See Exhibit 1. It looks like Plaintiffs are trying to commit fraud not only on
     the public but on this court. It is clear the owners of the out of business Spectrum Aesthetics
     center are convicted of federal crimes. The owner Victor Ron was convicted in this court and
     sentenced to 6 years in a federal prison in a Miami Pharmacy scheme. Furthermore, he was
     previously convicted of staging car accidents and defrauding insurance companies. His wife,
     Evelyn Parrado was also convicted in the Pharmacy scheme. in Exhibit 4, it shows Evelyn as one
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     of the owner of Spectrum Image along with a relative of her husband, the twice convicted
     federal defendant. Both Victor and Evelyn were charged and sentenced in this court. Look at the
     dates, the business they owned, Spectrum Aesthetic Center for Cosmetic Surgery went out of
     the business the same time they incorporated Spectrum Imaging. To this date, they are still
     using the name Spectrum Aesthetic Center for Cosmetic Surgery even though the state does not
     recognize it as a business and no evidence of Spectrum Imaging. See Exhibit 5. It looks like a
     fraud case in the making.

     f. Even worse then all this, they are currently under investigation for a death at Spectrum
     Aesthetic Center For Cosmetic Surgery. See Exhibit 6 The attorney through all of this is the
     current attorney of record for this case. representing the Plaintiffs

     In conclusion, Plaintiff took my name and are trying to destroy it for no other reason other then
     to deflect what they are doing. I will ask this court again to dismiss this case against me. I would
     also ask this court to order an injunction against them for operating an unathorized business.
     This court needs to order an investigation against Victor Ron, Evelyn Parrado and their attorney
     who brought this case to this court.


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     NicholasMa~




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          Co-conspiring family members
          sentenced in Miami pharmacy fraud
                                                                                                                             (https://oasc17.247realmedia.com/ReaIMedia/
          scheme                                                                                                                                       x)
          Co-conspirators used proceeds to buy luxury cars and fund
          businesses, Department of Justice said.                                                                            !Breaking News. In-
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                   Beth Jones Sanborn                                                                                        \ Practices.
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          Managing Editor


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    Sentencing continues for family members involved in a Medicare Part D fraud
    scheme that bilked the system for more than $20 million and saw its
    perpetrators using the funds to buy luxury cars and fund other businesses, said
    the FBI and the US Attorney's Office, Southern District of Florida.

    Eight additional co-{;onspilators, whom the FBI said were family members of
    Daniel Suarez, have been sentenced to prison as well as ordered to pay
    restitution for their roles 1n the multi-million dollar operation 1nvolv1ng a number
    of Miami-area pharmacies, some of which were co-owned by family members,
                                                                                               (https://oascl 7.247realmedia.com/Re
    including Suarez
                                                                                                                   x}
     According to the FBI, Maria Echarri, 41, of North Miami Beach, Angelina
     Gonzalez, 38, of Miami, Odalys del Carmen Borrego, 47, of Miami, Oslay Borrego
     Alarcon, 44, of Miami, were each sentenced to rnne years in prison, to be followed
     by three years of supervised release, and were ordered to pay $20,988,632 in
     restitution.

     Additionally, Victor Manuel RoD, 30, of Homestead, was sentenced to almost six
    ·years in~~ollowed by three years of supervised release. Ron hasa
   ' previous convictioiilor staging car accidenisanifoeTTaOcITng1"r1surance-            -
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      ordered to pay S(fs5722mrestiTTJ1:ion:---- ---- --              ·
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     Finally, Enemisis Torres, 48, of Miami, was sentenced to a little more than four
                                                                                                                                          ~
     years in prison, followed by three years of supervised release. Aimee Geada, 39,
     of Miami, was sentenced to a year and a day in prison, to be followed by three
                                                                                                  IMPROVING ·-~
     years of supervised release                                                                  HEALTHCARE~                       '~;;, ":-
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                                                                                                  WITH ANALYTICS
     (Also: Pharmacy owner sentenced over $20 million Medicare fraud, spent cash on                Eamyour master•~ degree l)nhre
     Rolls Royce, Bentley (https://www.healthcarefmancenews.com/news/pharmacy-
     owner-sentenced-over-20-medicare-fraud-spent-cash-rol/s-royce-bentley))

     The FBI said Suarez, Echarri, Gonzalez, Borrego, and Alarcon controlled nine
     pharmacies that submitted fraudulent claims to Medicare that stemmed from
     written prescriptions 'when, in fact, such items were not properly prescribed or          (https://oasc17.247realmedia.com/ReaIMedia/
     actually provided to Medicare beneficiaries." The five submitted more than $20                                x)
     million in false claims. Evelyn Parrado posed as record owner of a pharmacy
     (https://wwwhealthcarefinancenews.com/directory/pharma), which was used to
                                                                                                 Breaking News. In-
     submit more than a Sl million in false claims.
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     Torres owned a Miami clinic where he and Geada both worked. Authorities said                Practices.
     the two forged or altered prescriptions used at the pharmacies, and Torres                  Delivered to your inbox daily.
     "caused the submission" of millions in false claims Geada caused the
     submission of at least $500,000 in false claims, the FBI and US. Attorney's office
     said.

     The scheme involved the use of recruiters who received kickbacks for referring                           Sign me up
     Medicare Part D beneficiaries to the pharmacies the co-conspirators controlled.
                                                                                                 (http://pages.healthcareflnancenew com/hfr
     Suarez, Echarri, Gonzalez, Borrego, and Alarcon used the money gleaned from
     the illegal operation to buy a number of luxury cars including a Rolls Royce                  newsletter-subscription.html)
     Ghost, Bentley, Range Rover and Mercedes Benz S63 AMG. Ron and Parrado
     used their proceeds to fund additional businesses, Spectrum Aesthetics Center
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    Detail by Entity Name
    Florida Limited Liability Company
    SPECTRUM AESTHETICS CENTER FOR COSMETIC SURGERY. LLC
    Filing Information

    Document Number               L11000144759
    FEI/EIN Number                XX-XXXXXXX
    Date Filed                    12/28/2011
    Effective Date                12/28/2011
    State                         FL
    Status                        INACTIVE
    Last Event                    ADMIN DISSOLUTION FOR ANNUAL
    REPORT
    Event Date Filed              09/27/2013
    Event Effective Date          NONE
    Principal Address

    175 SW 7 STREET
    SUITE 1800
    MIAMI, FL 33130
    Mailing Address

    175 SW7 STREET
    SUITE 1800
    MIAMI, FL 33130
    Registered Agent Name & Address

    HERNANDEZ, JUAN A
    10275 NW 129 STREET
    HIALEAH, FL 33018
    Authorized Person(sl Detail

    Name & Address


    Title MGRM


    HERNANDEZ, JUAN A
    10275 NW 129 STREET
    HIALEAH, FL 33018


    Title MGRM


    PARRADO, EVELYN
Case 1:19-cv-21702-RNS Document 23 Entered on FLSD Docket 09/16/2019 Page 6 of 12




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    Detail by Entity Name
    Florida Profit Corporation
    SPECTRUM IMAGE, INC.
    Filing Information

    Document Number              P12000013505
    FEI/EIN Number               XX-XXXXXXX
    Date Filed                   02/08/2012
    Effective Date               02/08/2012
    State                        FL
    Status                       ACTIVE
    Last Event                   AMENDMENT
    Event Date Filed             02/07/2019
    Event Effective Date         02/08/2012
    Principal Address

    51 SW 42ND AVE
    1ST FLOOR
    MIAMI, FL 33134


    Changed: 04/25/2013
    Mailing Address

    51 SW 42ND AVE
    1ST FLOOR
    MIAMI, FL 33134


    Changed: 04/25/2013
    Registered Agent Name & Address

    PARRADO, EVELYN
    51 SW 42 AVE 1FL
    MIAMI, FL 33134


    Address Changed: 02/07/2019
    Officer/Director Detail

    Name & Address


    Title PRES/O


    PARRADO, EVELYN
Case 1:19-cv-21702-RNS Document 23 Entered on FLSD Docket 09/16/2019 Page 7 of 12

    51 SW42NDAVE
    1ST FLOOR
    MIAMI, FL 33134


    Title SECRETARY TREASURER/D


    RON, CHRISTOPHER
    51 SW 42ND AVE
    1ST FLOOR
    MIAMI, FL 33134


    Annual Reports

    Report Year       Filed Date
    2017              01/09/2017
    2018              01/10/2018
    2019              01/28/2019


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                                                                    aesthetics.com)                                    (tel: 1.305.514.0318)
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          Finance (https://spectrum-aesthetics.com/financing-plastic-surgery/l              Offers (https.//spectrurn-aesthet1cs corn/specials/)


          Appointment (htlps //spectrum-aesthetics.corn/appointment/)


          Upload Photos (https.//spectrurn-aesthetics.corn/upload-photos/)                More


          Contact (https://spectrurn-aesthetics.com/contact-us/)




                 Financing Options (https·//spectrum-aesthetics.comlfin~stic-surgery/}                               Photo Evaluation (https://spectru_m-aesthetic;s


                             Special Offers fhttps·//spectrum-aesthetics,com/specials/l




                                                                                      Meet Our Doctors


                     Dr. Mel Ortega                             Dr. Oliver Chang                        (https://spectrum-aesthetics.com/nidia-
                                                                                                        de-jesus/)

                                                                                                             Dr. Nidia De Jesus
                                                                                                        (https://spectrum-aesthetics.com/nid1a-
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                                                             PUBLIC RECORDS SEARCH
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    Married Mother Dies After Cosmetic Surgery in Miami




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      Ghurani provided the highest level of care as he does with all patiems


           • Doctors Remove 140-Pound Tumor from Pa. Woman


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Case 1:19-cv-21702-RNS Document 23 Entered on FLSD Docket 09/16/2019 Page 11 of 12

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